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                                                      USA

                                                       vs.

                                          CHRISTOPHER HASSON


Criminal # GJH-19-0096                                                          Government’s Exhibits



  Exhibit No.            Identification    Admitted             Witness                  Description

           1                  9/9/19         9/9/19              Gary        CV of Gary Schaible
                                                                Schaible
           2                  9/9/19         9/9/19              Gary        Application to make and
                                                                Schaible     register firearm
           3                  9/9/19         9/9/19          Daniel O’Kelly PVC Pipe
           4                  9/9/19         9/9/19          Daniel O’Kelly Red flashlight
           5                  9/9/19         9/9/19          Daniel O’Kelly Oil filter
           6                  9/9/19         9/9/19          Daniel O’Kelly Over ear hearing protection
           7                 9/9/2019       9/9/2019           Elizabeth     CV of Elizabeth Gillis
                                                                 Gillis
           8                 9/9/2019       9/9/2019          Ted Clutter    CV of Ted Clutter




Exhibit List (Rev. 3/1999)
